                              UNITED STATES DISTRICT COURT
                                   DISTRICT OF MAINE

Federal National Mortgage Association               CIVIL ACTION NO: 1:22-cv-00361-NT

                Plaintiff                           PLAINTIFF'S FIRST REQUEST FOR
                                                    ADMISSIONS TO DEFENDANT
                                                    MELISSA J. SCHULTZ-NIELSEN

                        vs.                         RE:
                                                    14 Middle Street, Randolph, ME 04346

Melissa J. Schultz-Nielsen a/k/a Melissa J.         Mortgage:
Andrews a/k/a Melissa J. Freeman                    September 20, 2001
and Lars E Schultz-Nielsen                          Book 6638, Page 183

             Defendants
HSBC Mortgage Services
Citibank South Dakota, NA
Capital One Bank USA NA

                Parties-In-Interest

       NOW COMES the Plaintiff, Federal National Mortgage Association, and pursuant to the

provisions of Rule 36 of the Federal Rules of Civil Procedure, the Defendant, Melissa J. Schultz-

Nielsen a/k/a Melissa J. Andrews a/k/a Melissa J. Freeman (hereinafter “Defendant Freeman”) is

requested to respond to the following Requests for Admissions. These matters will be deemed

admitted, unless within 30 days after service of the request, the Defendant, under the penalties of

perjury, specifically deny the matter or set forth in detail why the Defendant cannot truthfully admit

or deny the matter or make a written objection to the matter being addressed.

                                          DEFINITIONS

   a) Document: The term “Document” shall mean the original and/or all copies and drafts of

       writings of any kind, including correspondence, memoranda, reports, letters, messages

       (including notes and memoranda of telephone conversations and conferences), calendar and

       diary entries, records, data, agreements, contracts, statement, affidavits, photographs,




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   electromagnetic recordings, e-mails, bookkeeping entries, schedules, calendars, day planners

   and data maintained on computer or on disk.

b) Communication: The term “Communication” refers to any contact, exchange of

   information or data, transmission of fact, information or opinion, utterance, notation or

   statement of any nature whatsoever, including but not limited to correspondence as defined

   below, meetings or telephone conversations, whether written or oral, directly or indirectly

   between or by the parties or persons of whom inquiry is made.

c) Correspondence: The term “Correspondence” refers to any letter, telegram, telex, TWX,

   notice, e-mail, message, facsimile transmission, memorandum or other written

   communication or transcription or notes of communication.

d) Identify or Provide Identification of a Person: The terms “Identify” or “Provide

   Identification of a Person” means to state his or her full name, current or last known

   address, telephone number, e-mail address and employment now and at the times material to

   the occurrences giving rise to the Complaint.

e) Identify or Provide Identification of a Document: The term “Identify” or “Provide

   Identification of a Document” means to state the type of document (e.g. letter,

   memorandum, etc.), its date, its author, the person or persons to whom directed, and the

   identification of the present custodian thereof.

f) Person: The term “Person” means any and all nature of individuals, corporations,

   professional corporations, associations, firms, partnerships, companies or any other business

   or legal entities and those entities' officers, directors, partners, members, associates,

   employees, agents, servants or representatives as the context requires..
g) Statement: The term “Statement” means any written or oral assertion, allegation or

   declaration of acts, existing or believed to be existing by any person making such allegation,

   assertion or declaration.

h) Defendant, Your or You: The term “Defendant”, “Your” or “You” shall mean and refer to

   Melissa J. Schultz-Nielsen a/k/a Melissa J. Andrews a/k/a Melissa J. Freeman, unless stated

   otherwise.

i) Premises: The term “Premises” means 14 Middle Street, Randolph, ME 04346.

                                      ADMISSIONS
1. Admit that Defendant Freeman executed, acknowledged and delivered a Note to North

   American Mortgage Company for the amount of Sixty-Four Thousand and 00/100

   ($64,000.00) Dollars, dated September 20, 2001.

2. Admit that the Plaintiff is the owner of the aforesaid Note.

3. Admit that Defendant Freeman and Lars E Schultz-Nielsen executed, acknowledged and

   delivered a Mortgage to Mortgage Electronic Registration Systems, Inc., as nominee for

   North American Mortgage Company for the amount of Sixty-Four Thousand and 00/100

   ($64,000.00) Dollars, dated September 20, 2001 and recorded in the Kennebec County

   Registry of Deeds in Book 6638, Page 183, concerning 14 Middle Street, Randolph, ME

   04346.

4. Admit that the Plaintiff is the owner of the aforesaid Mortgage dated September 20, 2001

   and recorded in the Kennebec County Registry of Deeds in Book 6638, Page 183,

   concerning 14 Middle Street, Randolph, ME 04346.

5. Admit that Defendant Freeman have remained in possession and control of the property

   since the execution of the aforesaid Note and Mortgage.
6. Admit that Defendant Freeman resides at the property of 14 Middle Street, Randolph, ME

   04346.

7. Admit that Lars E Schultz-Nielsen and Defendant Freeman breached a condition in the

   Mortgage having defaulted under terms of the Mortgage and Note by failing to satisfy the

   obligations of the loan and that it remains in default since February 1, 2014.

8. Admit that Lars E Schultz-Nielsen and Defendant Freeman received a valid notice of default

   dated September 9, 2022 from Nationstar Mortgage LLC.

9. Admit that Melissa J. Schultz-Nielsen is not in the military.

10. Admit that ownership of the Mortgage was assigned to JPMorgan Chase Bank, National

   Association by virtue of an Assignment of Mortgage dated August 20, 2010, and recorded

   in the Kennebec County Registry of Deeds in Book 10512, Page 250.

11. Admit that ownership of the Mortgage was assigned to JPMorgan Chase Bank, National

   Association by virtue of a Confirmatory Assignment of Mortgage dated October 11, 2012,

   and recorded in the Kennebec County Registry of Deeds Book 11219, Page 299.

12. Admit that ownership of the Mortgage was assigned to Federal National Mortgage

   Association by virtue of an Assignment of Mortgage dated May 29, 2014, and recorded in

   the Kennebec County Registry of Deeds in Book 11731, Page 128.

13. Admit that ownership of the Mortgage was assigned to PROF-2013-S3 Legal Title Trust II,

   by U.S. Bank National Association, as Legal Title Trustee by virtue of an Assignment of

   Mortgage dated December 13, 2016, and recorded in the Kennebec County Registry of

   Deeds in Book 12491, Page 227.

14. Admit that ownership of the Mortgage was assigned to Federal National Mortgage

   Association by virtue of an Assignment of Mortgage dated June 21, 2018, and recorded in

   the Kennebec County Registry of Deeds in Book 12975, Page 324.
15. Admit that ownership of the Mortgage was assigned to PROF-2013-S3 Legal Title Trust II,

   by U.S. Bank National Association, as Legal Title Trustee by virtue of a Quitclaim

   Assignment of Mortgage dated October 9, 2018, and recorded in the Kennebec County

   Registry of Deeds in Book 13054, Page 36.

16. Admit that ownership of the Mortgage was assigned to Federal National Mortgage

   Association by virtue of an Assignment of Mortgage dated August 3, 2020, and recorded in

   in the Kennebec County Registry of Deeds in Book 13676, Page 139.

17. Admit that Federal National Mortgage Association is the current owner/holder of the note

   dated September 20, 2001.

18. Admit that the subject loan has been in default since February 1, 2014.

19. Admit that the subject loan continues to be in default.

20. Admit that no payments have been made on the subject loan since February 1, 2014.

21. Admit that on December 16, 2013, the Defendant Freeman executed a Loan Modification

   Agreement which adjusted the principal amount of the Note to $68,131.19

22. Admit that Lars quitclaimed his interest to Defendant Freeman pursuant to a quitclaim deed

   dated July 23, 2013, and record in the Kennebec County Registry of Deeds in Book 11456,

   Page 0279.

23. Admit that as of September 28, 2023, the following amounts are due and owing to the

   Plaintiff.

                   Description                                Amount
    Principal Balance                                                         $68,107.84
    Interest                                                                  $48,926.84
    Late Fees                                                                   $265.20
    Escrow Advance                                                            $26,851.28
    Corporate Advance                                                          $9,443.11
    Grand Total                                                           $153,594.27
                         Respectfully submitted,
                         Federal National Mortgage Association
                         By its attorneys

Dated: October 3, 2023   /s/ Reneau J. Longoria, Esq.
                         Reneau J. Longoria, Esq. Bar No. 005746
                         Attorney for Plaintiff
                         Doonan, Graves & Longoria, LLC
                         100 Cummings Center, Suite 303C
                         Beverly, MA 01915
                         (978) 921-2670
                         RJL@dgandl.com
                                 CERTIFICATE OF SERVICE

       I, Reneau J. Longoria, Esq. hereby certify that on October 3, 2023 I served a copy of the
above document by First Class Mail to the following:

                                                      /s/Reneau J. Longoria, Esq.
                                                      Reneau J. Longoria, Esq. Bar No. 005746
                                                      Attorney for Plaintiff
                                                      Doonan, Graves & Longoria, LLC
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Melissa J. Schultz-Nielsen
14 Middle Street
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